                                       UNITED STATES BANKRUPTCY COURT
                                               Western District of Texas
                                                    903 SAN JACINTO, SUITE 322
                                                        AUSTIN, TX 78701−0
YVETTE M. TAYLOR                                                                                                              (512) 916−5237
CLERK OF COURT


DATE:         May 23, 2018


Kell C. Mercer
Kell C. Mercer, PC
1602 E Cesar Chavez St
Austin, TX 78702




RE: Declaration for Electronic Filing
      Bankruptcy Case No.:     18−10511−tmd
                 Case Style:   Ronco Holdings, Inc.
Dear Mr. Mercer :

    The original signed Declaration for Electronic Filing, due on 5/15/2018 has not been electronically filed into
CM/ECF for the filing of:

11 − Schedules, Statements, and Summary filed by Kell C. Mercer for Debtor Ronco Holdings, Inc.. −Declaration for
Electronic Filing due by 05/15/2018 (Mercer, Kell)


Please electronically file the original Declaration for Electronic Filing immediately. If the Declaration of
Electronic Filing is not filed by June 6, 2018, as to any original petition, matrix, statement and schedules, this case
will be dismissed by the court and that, as to any amended petition, statement, schedule or matrix, the amendment(s)
will be stricken by the Court.


                                                                           Yvette M. Taylor
                                                                           Clerk, U. S. Bankruptcy Court

                                                                           BY: Adam Wallace


cc: Debtor(s), Trustee




511 E. San Antonio Avenue, Suite 444        615 E. Houston Street, Suite 597             800 Franklin Avenue, Suite 140
El Paso, Texas 79901                        San Antonio, Texas 78205                     Waco, Texas 76701
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                                                                                                                [Declaration Due Letter] [LtrDclrdu]
